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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------X

UNITED STATES OF AMERICA,
                                                 MEMORANDUM AND ORDER
             - against -
                                                   S1 07 CR 1062 (NRB)
IVY WOOLF-TURK,

                     Defendant.
----------------------------------------X

NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE

     Defendant Ivy Woolf-Turk (“defendant”), who is currently

incarcerated and subject to an order of restitution, has moved

this Court to modify the restitution order pursuant to 18 U.S.C.

§ 3664(k).     For the reasons stated herein, we grant defendant’s

motion and adjust defendant’s restitution payment schedule for

the remainder of her period of incarceration.

                              BACKGROUND

     In 2009, defendant pleaded guilty to a single count of

conspiracy to commit mail and wire fraud in violation of 18

U.S.C. §§ 1341, 1343, 1349.       This Court subsequently sentenced

defendant to 60 months’ imprisonment and ordered her to pay

$29,660,192.36 in restitution to the victims of the fraud she

perpetrated.    On November 30, 2010, the Second Circuit affirmed

the sentence imposed.
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      On April 18, 2011, defendant moved for a modification of

her restitution order, arguing that her economic circumstances

had   deteriorated.            According         to     defendant,     following      her

incarceration,        her    fiancé    ceased         communicating    with     her   and

discontinued all financial support for her and for her four

children.      Defendant states that her ex-husband began to provide

financial support for her children, three of whom are currently

in school.

      Defendant states that her present income is limited to two

sources.     First, her ex-husband provides her with between $50.00

and $100.00 per month.                Second, defendant declares that she

works while incarcerated as a clerk and earns $28.00 per month.

Defendant      also    notes       that    she    sold       her   home,     which    she

characterizes as her sole asset, in December 2010 and states

that all proceeds of the sale were distributed to the victims of

her   fraud.      In    a     letter      dated       June   28,   2011,     defendant’s

attorney confirmed that defendant received no proceeds from the

sale of her home.

      At the time she filed her motion, the Bureau of Prisons

(“BOP”)     required        that   defendant          pay    $200.00   per    month    in

restitution.      In June 2011, the BOP reduced defendant’s required

payment to $50.00 per month.               In her motion, defendant requests

that her restitution payment be reduced to $25.00 per quarter.




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     On April 27, 2011, this Court sent a copy of defendant’s

motion to the Government and asked that the Government notify

the victims promptly of defendant’s request.                     We also stated

that the notice should make clear that the Court would not alter

the total amount of restitution to be paid but would simply

modify    the   amount   that      the   defendant     would     pay   during    the

balance of her term of incarceration.

     The Government objected to the defendant’s motion but sent

a notice to the victims of defendant’s fraud on July 18, 2011.

The Government advised the Court of the aforementioned notice on

July 22, 2011.        Unfortunately, the notice does not adequately

explain the nature of any modification that this Court might

impose.      Accordingly,     we    write     not    only   to   memorialize     our

decision    but   also   to   explain        its    basis   to   the   victims    of

defendant’s fraud.

                                   DISCUSSION

     Section 3664(k) of title 18 provides:

             A restitution order shall provide that the
             defendant shall notify the court and the
             Attorney General of any material change in
             the defendant’s economic circumstances that
             might affect the defendant’s ability to pay
             restitution.    The court may also accept
             notification of a material change in the
             defendant’s economic circumstances from the
             United States or from the victim.       The
             Attorney General shall certify to the court
             that the victim or victims owed restitution
             by the defendant have been notified of the
             change in circumstances.    Upon receipt of


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             the notification, the court may, on its own
             motion,   or  the   motion   of  any   party,
             including the victim, adjust the payment
             schedule, or require immediate payment in
             full, as the interests of justice require.

18 U.S.C. § 3664(k).          As the statute makes clear, “a material

change in the economic circumstances of a defendant subject to a

restitution order may come to the court’s attention from one of

three sources: the defendant himself, the United States, or the

victim.”      United States v. Grant, 235 F.3d 95, 100 (2d Cir.

2000).      Whether the change is material is an objective inquiry:

“[a]     change    of   the   sort     contemplated         by     the    statute     is

identified by an objective comparison of a defendant’s financial

condition before and after a sentence is imposed.”                       Id.

       Here, the defendant herself alerted the Court to an adverse

change in her economic circumstances and we conclude that the

deterioration is material.            As defendant stated, her income has

been   significantly      reduced:     she       no    longer    receives      financial

support from her fiancé; she sold her only asset -- her home --

and    received    no   proceeds     from       the    liquidation;      she   receives

limited financial support from her ex-husband; and receives no

additional        financial     support         from     other     family      members.

Additionally, although she holds a job while incarcerated, her

income from that job amounts to $28.00 per month.

       Moreover,     contrary    to    what       might    be    commonly      assumed,

inmates in Federal prisons are required to pay for everything


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from sneakers to socks, shower shoes to soap, toothpaste to

tissues, paper to photocopying, and cough medicine to aspirin.

Thus,    her   limited       income    cannot    be   wholly     allocated      toward

repayment of her restitution obligations.                     Additionally, it was

never this Court’s intention in ordering restitution that such

restitution be paid by defendant’s relatives.

        Accordingly,     in    light    of      the   material     change      in    the

defendant’s economic circumstances that affects her ability to

pay     restitution     while     incarcerated,          we    adjust    defendant’s

payment schedule as follows: (i) if defendant is engaged in a

BOP non-UNICOR work program, the defendant shall pay $25.00 per

quarter     toward     her     criminal       financial       penalties;      (ii)    if

defendant      participates       in    the      BOP’s    UNICOR       program,      the

defendant      shall   pay    $25.00    per     quarter       toward    her   criminal

financial penalties; and (iii) defendant shall not be required

to pay more than the above-mentioned portion of her UNICOR or

non-UNICOR salary toward criminal financial penalties during her

remaining period of incarceration.

                                      CONCLUSION

        For the foregoing reasons, the motion is granted.




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Dated:       New York, New York
             August 16, 2011




                                           k~~~
                                           UNITED STATES DISTRICT JUDGE



Copies of the foregoing Order have been mail             on this date to
the following:

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